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No.

IN THE
SUPREME COURT OF THE UNITED STATES

WILLIAM REAVES,
Petitioner,

Vv.

JULIE JONES, Secretary,
Florida Department of Corrections,

Respondent.

On Petition For A Writ Of Certiorari To
The United States Court of Appeals for the Eleventh Circuit

PETITION FOR A WRIT OF CERTIORARI
CAPITAL CASE

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CAPITAL CASE

QUESTIONS PRESENTED

I, Whether this Court’s decision in Strickland v. Washington,
466 U.S. 668 (1984) and the subsequent applications of
Strickland in Williams v. Taylor, 529 U.S. 362 (2000), and
Wiggins v. Smith, 539 U.S. 510 (2003), require that
ineffective-assistance-of-counsel errors be cumulated in
the prejudice analysis?

II. Whether the circuit court erred in reversing the district
court’s finding of ineffective assistance of counsel by
refusing to consider the cumulative impact of counsel’s
errors in its prejudice analysis, contrary to the plain
language and this Court’s application of Strickland v.
Washington?

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PETITION FOR A WRIT OF CERTIORARI

Petitioner, WILLIAM REAVES, is a condemned prisoner in the State of
Florida. Petitioner urges this Honorable Court to issue a Writ of Certiorari to review
the denial of a writ of habeas corpus by the United States Court of Appeals for the
Eleventh Circuit.

CITATION TO OPINIONS BELOW

The Florida Supreme Court opinion affirming convictions and sentence on
direct appeal is reported as Reaves v. State, 639 So. 2d 1, 3 (Fla. 1994), and is attached
hereto as Appendix A. The Florida Supreme Court’s opinion affirming the circuit
court denial of postconviction relief and denying petition for writ of habeas corpus is
reported as Reaves vy. State, 826 So. 2d 932, 941 (2002), and is attached hereto as
Appendix B. The Florida Supreme Court’s opinion affirming the denial of relief after
remand for a limited evidentiary hearing on guilt phase ineffective assistance of
counsel issues “and other related claims,” is reported as Reaves v. State, 942 So. 2d
874 (Fla. 2006), and is attached hereto as Appendix C.

A petition for writ of habeas corpus was timely filed in the United States
District Court, Southern District of Florida. The district court granted habeas corpus
relief finding that trial counsel was ineffective at the guilt phase and penalty phase
of the trial. See Reaves v. Buss, 2011 WL 13243586 (S.D. Fla. August 16, 2011),
attached hereto as Appendix D. The grant of habeas relief was reversed by the
Eleventh Circuit and remanded to the district court for further proceedings in Reaves

v. Sec’y, Dep't of Corrs., 717 F.3d 886 (11th Cir. 2013), attached hereto as Appendix

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E. Followmg an evidentiary hearing on penalty phase ineffective assistance of trial
counsel, the District Court again granted habeas corpus relief in Reaves v. Jones,
2015 WL 18657202 (S.D. Fla. March 3, 2015}, attached hereto as Appendix F.
Thereafter, the Eleventh Circuit Court of Appeals reversed the grant of relief,
reported as Reaves v. Sec’y, Dep’t of Corrs., 872 F.3d 1187 (11th Cir. 2017), and
attached hereto as Appendix G. The Eleventh Circuit Court of Appeals’ Order denying
Petitioner’s Petition(s) for Rehearing is attached hereto as Appendix H.

STATEMENT OF JURISDICTION

Petitioner invokes this Court’s jurisdiction to grant the Petition for a Writ of
Certiorari to the Eleventh Circuit Court of Appeals on the basis of 28 U.S.C. § 1254(1).
The Eleventh Circuit issued its decision on September 28, 2017 and denied the
subsequent motion for rehearing en bane on November 6, 2017. Mr. Reaves’ motion

to extend the time to file the instant petition was granted and the time extended to

April 5, 2018. This petition is timely filed.

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CONSTITUTIONAL AND STATUTORY PROVISIONS INVOLVED

The Sixth Amendment to the United States Constitution provides:

In all criminal prosecutions, the accused shall enjoy the
right to... have the Assistance of Counsel for his defence.

The Eighth Amendment to the United States Constitution provides:

Excessive bail shall not be required, nor excessive fines
imposed, nor cruel and unusual punishments inflicted.

The Fourteenth Amendment to the United States Constitution provides in
relevant part:

[Nlor shall any State deprive any person of life, liberty, or
property, without due process of law.

28 U.S.C. § 2254(d) provides, in pertinent part:

An application for a writ of habeas corpus on behalf of a
person in custody pursuant to the Judgment of a State
court shall not be granted with respect to any claim that
was adjudicated on the merits in State court proceedings
unless the adjudication of the claim—

(1) resulted in a decision that was contrary to, or
involved an unreasonable application of, clearly
established Federal law, as determined by the
Supreme Court of the United States; or

(2) resulted in a decision that was based on an
unreasonable determination of the facts in light of
the evidence presented in the State Court
Proceeding.

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STATEMENT OF THE FACTS AND CASE

A. Introduction

“An American soldier facing death at the hands of his government deserves
effective representation. Mr. Reaves did not receive it — the penalty phase of his trial
was constitutionally inadequate.” Reaves v. Jones, 2015 WL 13657202 at *43.

Mr. Reaves fought in a bloody and violent conflict in the service of his country.
Before his service, he was a bright and kind young man. But his experiences in
Vietnam and Cambodia left him with the mental health condition Post-Traumatic
Stress Disorder. Combat PTSD commonly contributes to and thus mitigates violent
crimes committed by veterans after they have returned home. See, e.g., Porter v.
McCollum, 558 U.S. 30, 43 (2009) “Our nation has a long tradition of according
leniency to veterans in recognition of their service, especially for those who fought on
the front lines.”).

In Mr. Reaves’ crime, he shot and killed a police officer who sought to take a
gun Mr. Reaves had in his possession and Mr. Reaves “panicked” Appendix F at *1.1
He believed irrationally that “[o]ne of us got to go.” Reaves v. State, 639 So. 2d 1, 3
(Fla. 1994). Mr. Reaves’ war experience was at play in his crime. He was seen fleeing
the scene by a witness, bobbing and weaving as if he beheved he had just encountered
the enemy and was escaping to save his life, even though there were no other officers

around to fire upon him. (“Witness Whitaker, who discovered the deputy, testified

1 Appendix F is the Order of the District Court granting habeas relief based on
penalty phase ineffective assistance of counsel. See Reaves v. Jones, 2015 WL
13657202 (S.D. Fla. March 3, 2015).

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that he saw a black man wearing red shorts and a white T-shirt running from the
scene in a manner similar to men in Vietnam under fire.” Jd) .

Yet the jury in this case “never learned of Mr. Reaves’ mental disorder because
his counsel’s conduct undermined the adversarial process” Appendix F at *1. So, the
jurors could not ask themselves whether Reaves’ crime was, to some degree, a tragic
consequence of a mental health condition brought on by the service Reaves provided
heroically to them and their families during the Vietnam War.

B. The Offense

Mr. Reaves is on death row at the Union Correctional Institution in Raiford,
Florida. On September 23, 1986, Mr. Reaves, who was “Coked up” and unable to call
a taxi (Appendix F at *1), misguidedly dialed 911 from a convenience store pay phone
to ask for a taxi (Appendix F at *2). Sheriffs Deputy Richard Raczkowski arrived,
checked to make sure Reaves had no outstanding warrants, and was then kind
enough to ask the dispatcher to request a cab for Mr. Reaves (Appendix F at *2). He
tried to help. “While the men waited, a .38 caliber pistol slipped from the waistband
of Mr. Reaves’ pants and fell to the ground” (Appendix F at *2), The men both went
for the weapon, and Reaves recovered it. Deputy Raczkowski told Mr. Reaves to give -
him the gun. Mr. Reaves responded, “I’m not going to give you my gun. I just want to
go home” (Appendix F at *2). “Raczkowski started to back up, reached for his weapon,
and started running around the back of the patrol car” (Appendix F at *2). “Mr.
Reaves said that as the Deputy started to run and was reaching for his weapon, ‘I

started shooting” (Appendix F at *2). “According to Mr. Reaves, ‘I panicked, I

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panicked ... all I remember is I started shooting’.” (Appendix F at *2). Mr. Reaves
had determined in his disordered state that “lolne of us got to go,” Reaves v. State,
639 So. 2d 1, 3 (Fla. 1994), and shot Deputy Raczkowski for no reason at all other
than panic and confusion.

Mr. Reaves was then seen fleeing the scene “in a manner similar to men in
Vietnam under fire,” /d@, bobbing and weaving as if he believed he had just
encountered the enemy and was escaping to save his life. It did not matter that there
was nobody left to shoot at Mr. Reaves; his evasive maneuvering was not in response
to the reality of the situation.

Upon being arrested, Mr. Reaves waived his rights, gave police a detailed,
53-minute taped confession, which was played at trial, answered all questions, and
even drew a diagram of the scene of the shooting (Appendix F at *1-2). Mr. Reaves
reported that he had been smoking cocaine on the night of the shooting (Appendix F
at *1).

C. Evidence Presented At Sentencing

At Mr. Reaves’ trial, an appointed mental health expert, Dr. Weitz, testified
that Mr. Reaves suffers from “Vietnam Syndrome,” which “is not in the Diagnostic
and Statistical Manual for Mental Disorders.” Reaves v. Crews, 20138 WL 12309316

at *3.2 As recounted by the district court:

2 Order of the district court granting evidentiary hearing on penalty phase
ineffective assistance of counsel. Reaves v. Crews, 20138 WL 12309816 (S.D. Fla.
September 3, 2013). “[T]he Court has reviewed the record and the Florida Supreme
Court’s decision. The Court concludes that the Florida Supreme Court's decision is

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Dr. Weitz testified that he believes at the time of the crime,
Mr. Reaves was experiencing psychological effects of
serving in combat in Vietnam in addition to experiencing
the effects of cocaine use and anti-social personality
disorder. He testified that, in his opinion, Mr. Reaves did
not run from the Officer initially because the officer had
been helping him. However, as soon as the gun fell out and
the Officer would not allow Mr. Reaves to retrieve it, Dr.
Weitz believes that Mr. Reaves, based on his combat
experience in Vietnam, felt that his life was in danger and
that he had been put in a dangerous situation where he
could end up dead. In Dr. Weitz’s opinion, based on Mr.
Reaves’ prior military experience, Mr. Reaves was acting
under the impression that he should shoot or he would be
shot.

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On the subject of war experience, fellow soldiers Hector Caban and William D.
Wade, who had served with Mr. Reaves, offered some testimony as to the platoon’s
experiences there. /d. Trial counsel also presented several lay witnesses at the
penalty phase to testify about Mr. Reaves’ youth and formative years growing up in
Gifford, Florida. They included Fran Ross, who testified that she grew up with Mr.
Reaves but that after he returned from service in Vietnam, Mr. Reaves changed, got
into drugs (R. 1896-1918); Reverend Leon Young (R. 1920-24); Will Otis Cobbs (R.
1925-35); Charlie Jones (R. 1934-39); and Ann Covington, Mr. Reaves’ sister, (R.
1940-49). Following the penalty phase a non-unanimous jury recommended by a vote
of ten (10) to two (2) that the judge sentence Mr. Reaves to death. The trial court

followed the jury’s recommendation. (R. 2320, 2328-35). The sentence of death was

an unreasonable determination of the facts in light of the state court record.” /d. at
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upheld on direct appeal. Heaves v. State, 639 So. 2d at 3, 6.

D. Reaves’ State Motion For Postconviction Relief

Mr. Reaves originally filed a Fla. R. Crim. P. 3.850 motion on February 15,
1996, subsequently amended, that alleged both guilt and penalty phase violations of
Strickland v. Washington, 486 U.S. 688 (1984). The violations included a failure to
investigate available mitigation, including the impact of PTSD and the use of cocaine,
failure to consult necessary experts, failure to properly prepare the defense
psychologist, and, because of lack of investigation, a failure to challenge the
qualifications and testimony of state witnesses. Appendix F at *21 n.17. The motion
alleged multiple Strickland violations. See Appendix F at *10-11.

The lower state court denied evidentiary development on the claims and
summarily denied the motion. The Florida Supreme Court affirmed, finding that
“[alny of the proposed additional evidence [as to the penalty phase] would have been
either irrelevant or cumulative.” Reaves v. State, 826 So. 2d 932, 941 (2002) . However
the Court remanded for an evidentiary hearing on guilt phase ineffectiveness,
including trial counsel’s failure to raise a defense of involuntary intoxication “and
related subclaims.” /d. at 944.5 As to the postconviction claim of counsel’s cumulative
errors, challenging both the conviction and sentence, the Florida Supreme Court

found that “[t]his claim has been rendered moot in light of our decision to.

83 The subclaims included the claim that trial counsel “was ineffective in not
retaining experts who could testify properly as to the effects of substance abuse
combined with his mental defects,” td at 939, which was broader in scope than
voluntary intoxication and resulted in substantial mitigation evidence being
presented on remand as to Reaves’ combat PTSD and substance abuse disorder.

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remand....” fd Much of the evidence subsequently mtroduced at the state
evidentiary hearing on voluntary intoxication and the related subclaims was material
to the issue of whether counsel was ineffective for failing to present that same mental
health evidence as mitigation at the penalty phase.

E. State Postconviction Evidentiary Hearing

At the state court evidentiary hearing following the 2002 remand, psychiatrist
Richard Dudley testified that at the time of the offense Mr. Reaves was intoxicated,
unable to form specific intent, suffered from PTSD and depression, and was a
polysubstance abuser (PCR2. 159-223). Psychologist Dr. Barry Crown opined that Mr.
Reaves suffered from frontal lobe organic brain damage and that he was unable to
form specific intent at the time of the offense (PCR2. 238-69). PTSD expert, Vietnam
veteran and clinical psychologist Dr. Erwin Parson testified that based on his
evaluation Mr. Reaves suffered from combat-related PTSD (PCR2. 335-410).
Neurologist Dr. Thomas Hyde confirmed Mr. Reaves’ frontal lobe dysfunction and
agreed that Mr. Reaves presented “strong elements” in support of a diagnostic finding
of PTSD (PCR2. 455-81). Finally, University of Miami Professor of Neurology and
substance abuse expert Dr. Debra Mash opined that Mr. Reaves was intoxicated at
the time of the offense and showed signs and symptoms of combat-related PTSD
(PCR2, 270-336).

The lower state court denied relief after the remand hearing, and the Florida
Supreme Court then affirmed without any mention of the penalty phase. Reaves v.

State, 942. So. 2d 874 (Fla. 2006).

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F. Federal Proceedings

Mr. Reaves timely filed a federal habeas petition and on August 16, 2011, the
federal district court granted habeas relief as to Reaves’ Claim IX (ineffective
assistance of counsel at the penalty phase of Reaves’ capital trial) and Claim XXII
(ineffective assistance of counsel at the guilt phase of Reaves’ capital trial). The court
ordered a new trial as to Claim XXII and granted but stayed an evidentiary hearing
on Claim IX., unless it became necessary to receive evidence related to counsel’s
performance at the penalty phase of the trial. See Appendix D, Reaves v. Buss, 2011
WL 13243586 (S.D. Fla. August 16, 2011).

The Eleventh Circuit Court of Appeals reversed the relief grant as to Claim
XXII (voluntary intoxication) and remanded the case. See Reaves v. Sec’v, Dept of
Corrs., 717 F.3d 886 (11th Cir. 2018). Accordingly, on September 4, 2013, the district
court vacated the relief grant and ordered an evidentiary hearing on the issue of
whether trial counsel provided ineffective assistance at the penalty phase of Mr.
Reaves’ capital trial. Reaves v. Crews, 2013 WL 12309316 (S.D. Fla. Sept. 4, 2013).
An evidentiary hearing limited to three mitigation topics: mental health, substance
abuse, and family background ran from March 10 to March 13, 2014.

G. Federal Court Evidentiary Hearing*

Thomas Hyde, M.D., a behavioral neurologist (Doc. 77 at 16), who had

evaluated Mr. Reaves prior to the evidentiary hearing in state court, testified that

4 Doc. 77 in the district court record is the March 10, 2014 evidentiary hearing
transcript. Doc. 78 is the March 11, 2014 transcript, Doc. 79 is the March 12, 2014
transcript and Doc. 80 is the March 138, 2014 transcript.

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his finding was Mr. Reaves suffers from frontal lobe dysfunction, that being “the part
of the brain that governs impulses, judgment, reasoning, complex problem solving”
(Doc. 77 at 17)—the faculties that would prevent a man like Reaves from reacting to
the appearance of the weapon as he did. In addition to the frontal lobe dysfunction,
Dr. Hyde also found that Mr. Reaves suffers from PTSD (Doc. 77 at 20). Dr. Hyde
explained that veterans with PTSD “often turn to substance abuse as a form of self-
medication” (Doc. 77 at 20). Dr. Hyde explained that combat vets with PTSD
experience “dissociative episodes; blanking out, flashbacks, nightmares, hyper
vigilance, social isolation, functional impairment.” Dr. Hyde also diagnosed Mr.
Reaves as suffering from cocaine dependence (Doc. 77 at 21). Dr. Hyde explained that
under the diagnostic criteria that were required for a diagnosis of PTSD at the time
of Mr. Reaves’s trial in 1992, Mr. Reaves would still have met the criteria (Doc. 77 at
21-23).

Richard Dudley, M.D., a psychiatrist, agreed with Dr. Hyde’s findings of PTSD
and cocaine dependence, and testified about how Mr. Reaves’s well-adjusted, non-
violent civilian personality before the Vietnam war contrasted with the man who
came back after it. (Doc. 77 at 90-91). Dr. Dudley described how Reaves took to
abusing substances such as alcohol and heroin as a coping mechanism after the War,
which created more difficulties in his life (Doc. 77 at 92-94). Dr. Dudley recounted the
symptoms of PTSD reported by Mr. Reaves that he experienced after his return from
Vietnam (Doc. 77 at 95-96), He testified that Mr. Reaves had sought help from the

VA, but they were unable to help him (Doc. 77 at 98). As a result of his comprehensive

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evaluation of Mr. Reaves, Dr. Dudley diagnosed him with PTSD, as a result of his
experiences in the military, and explained that the substance abuse that he practiced
to cope with the PTSD exacerbated the symptoms (Doc. 77 at 99-100). Like Dr. Hyde,
Dr. Dudley found that Reaves met the criteria for the statutory mental health
mitigators at the time of the crime (Doc. 77 at 106). Like Dr. Hyde, Dr. Dudley found
that Reaves met the 1992 criteria for PTSD and substance abuse disorder.

David Price, Ph.D. also testified about Reaves’s PTSD. Dr. Price is a clinical
psychologist with extensive experience working with PTSD patients, including at the
VA (Doc. 77 at 152).

Dr. Price interviewed several lay individuals whose observations about Mr.
Reaves corroborated his diagnosis of PTSD (Doc. 77 at 174). Reverend Young related
that Reaves “was impulsive, that he was reckless, that he was paranoid, that he was
always scared and felt someone was after him” (Doc. 77 at 171-72). Other individuals
reported to Dr. Price that Reaves was “shellshocked, paranoid and would get spooked
easily,” “always jittery,” “liked to be alone,” “had flashbacks of Vietnam,” “didn’t like
noise,” and would have mood swings (Doc. 77 at 173). Jane James, Reaves’ sister,
described Reaves waking up in the night screaming, acting like he was shooting a
gun (Doc. 77 at 174).

Dr. Price found that Reaves has “difficulty with depression and anxiety” which
is consistent with PTSD (Doc. 77 at 186). Dr. Price did not believe Reaves was
malingering or embellishing his symptoms (Doc. 77 at 187). As a result of his

comprehensive evaluation, Dr. Price opined that Reaves suffers from PTSD as a

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result of his combat experience in Vietnam (Doc. 77 at 188). Additionally, he suffered
from a cocaine dependency (Doc. 77 at 189). Dr. Price testified that these diagnoses,
together with the fact that Reaves was under the influence of cocaine at the time of
the crime support a finding of statutory mitigators: extreme emotional disturbance
and that Reaves’ ability to conform his conduct to the law was substantially impaired
at the time of the crime (Doc. 77 at 189-90). Dr. Price testified that his opinion was
consistent with those of the other defense experts: Dr. Hyde, Dr. Dudley, Dr. Mash,
and Dr. Parson (Doc. 77 at 194).

Dr. Barry Crown, a neuropsychologist and addictionologist, testified at the
State evidentiary hearing in 2008 and then did a separate evaluation of Reaves in
2018 to address his substance abuse issues (Doc. 79 at 22). Dr. Crown testified about
this history and discussed the effects of Mr. Reaves’ drug use on his PTSD (Doc. 719
at 28-39). He stated that the combination of PTSD with drug addiction is doubly
difficult because “you have startled response from both,” with “veourring thoughts
that are mixed with memory experiences form the past as well as sensory experiences
form the present” (Doc. 79 at 39).

Dr. William Weitz, who had testified about Vietnam Syndrome at trial, also
testified in the federal evidentiary hearing. Dr. Weitz testified that “the amount of
effort, time, energy, and focus was on the trial phase, it was on the guilt phase and
mitigation was not as critical a focus of myself certainly nor in my opinion of the
attorney” (Doc. 77 at 101). He testified that “[t]he only reason I didn’t diagnose PTSD

[at triall was I felt that one critical criteria in the DSM that was required in my

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professional opinion wasn’t met.5 So I didn’t diagnose posttraumatic stress disorder”
(Doc. 77 at 104). Dr. Weitz also testified that he incorrectly diagnosed antisocial
personality disorder, both in 1987 and in 1992, because he incorrectly based his
analysis on misperceptions about Reaves’ juvenile criminal history (Doc. 77 at 105).
There was also extensive lay witness testimony at the federal evidentiary
hearing. This included testimony from Reaves’ sister, Jane James, who explained how
Reaves changed after Vietnam (Doc. 78 at 44-46). He hadn’t done that before
Vietnam, and seemed to be acting like a child in those situations (Doc. 78 at 46).
There was testimony concerning Reaves’ experience as a combat soldier in
Vietnam from fellow soldier Mr. Howard Wine, who testified that during his service
he met Reaves and served in the same platoon from late January 1970 until about
September 1970. He explained the intimacy of the relationship: “many nights we
spent the night together because we have a poncho liner that we mend together in
order to keep the rain off of you, off of your body. And he and I would, you know, bunk
together every night on an air mattress in the jungle” (Doc. 78 at 81). Reaves is the
soldier he best remembers and considers a friend from Vietnam because “we shared
a tent together [during] nights, played cards together with each other, talked about
the lady folks. Yeah” (Doc. 78 at 115). Mr. Wine said Reaves was part of a group of

African-American soldiers he called “brothers”: “you know, the brothers stayed on one

5 He specifically testified his diagnosis of Mr. Reaves with PTSD was based on
being provided during postconviction with reports from trial counsel’s investigator
that he never reviewed at trial and other items that support persistent re-experience,
the support for criteria B of the DSM-ITR PTSD definition (Doc. 77 at 107-18; 117-
20).

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side and the other groups stayed on the other side basically because we just ~- it
wasnt out of prejudice. It was more out of the different style and likes of music. Okay?
So we kind of hung together. We had -- you know, the brothers had a special
handshake that they did with one another. It was just being ourselves, just being kids
I guess” (Doc. 78 at 86).

Wine also testified that he and Reaves discussed their constant fear for their
lives: “we used [to] call it half-stepping. Don’t half-step. That means don’t let your
guard down, don’t leave your weapon in one spot and go someplace else. You know,
we all talked about that. That’s the -- if you don’t have no firepower, you're not safe”
(Doc. 78 at 106). Mr. Wine recalled the combat situations that he and Reaves shared
over an eight month period. (Doc. 78 at 115-24).

Other lay witnesses testified at the evidentiary hearing concerning Reaves’
childhood, personality, and socialization in the community of Gifford, Florida, as a
young man. They included Greg Watson, (Doc. 78 at 52-57); Rev. Leon Young, (Doc.
79 at 8-13); and Pastor Charlie Jones, (Doc. 78 at 63-67).

Trial attorney Jonathan Jay Kirschner also testified. (Doc. 80 at 4-76).
Kirschner was appointed as a special public defender for Reaves in April 1991 (PCR.
2385). He testified that he had never tried a capital case at the time of the
appointment and that Mr. Reaves’ capital case was his first and last. (Appendix F at
*2). After the Reaves trial, Kirschner testified, he stopped doing capital murder cases
(Doc. 80 at 48).

Kirschner testified that the investigation documents indicating that Reaves

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displayed symptoms of recurrent bad dreams may not have been provided to Dr.
Weitz if Kirschner either misplaced them or had failed to review them (Doc. 80 at 69).
If Dr. Weitz said he never saw them, “the problem would have had to have been at
my office.” (Doc. 80 at 69). He testified that he is aware that one of the reasons Dr.
Weitz said in his pre-trial deposition he was unable to diagnoses PTSD was that he
didn’t find significant enough evidence of recurrent combat-related bad dreams (Doc.
80 at 77). Kirschner stated that if he had seen reports supporting that missing
corroboration, he would have alerted Dr. Weitz: “And I subsequently have seen those
and, yeah, you know, either I dropped the ball and never got them to Weitz or I didn’t
see it or [ didn’t, you know, send it to him or when he got it, he didn’t see it or, you
know, somewhere in that process the information did not get passed along.”

Brandon Perron, trial counsel’s lead investigator, also testified. (Doc. 79 at 207-
240). He stated that he knew that PTSD would be a possible avenue of defense after
his initial interview of Reaves. (Doc. 79 at 207). He testified that in his initial
interview of Reaves he obtained support for presenting a PTSD defense. (Doc. 79 at
237-40).

H. District Court Ruling On Penalty Phase Ineffective Assistance Of
Counsel

The district court undertook a painstaking chronological review of the
evidence, allegations, and claims presented in this case during state proceedings and
entered an order granting relief due to the ineffective assistance of trial counsel
(Appendix F at *20-43). The State of Florida appealed the District Court’s grant of

habeas corpus relief. The Eleventh Circuit Court of Appeals reversed the grant of

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relief, reported as Reaves v. Sec’y, Dep’t of Corrs., 872 F.3d 1137 (11th Cir. 2017), and
then denied Petitioner’s Petition(s) for Rehearing.

REASONS FOR GRANTING THE WRIT

1, The Eleventh Circuit’s Findings Were Factually Inaccurate.

In its September 28, 2017 opinion reversing the grant of habeas corpus relief
by the District Court, the Eleventh Circuit asserted that the District Court had
granted relief on a claim that Appellant did not make, a claim it dubbed the
“combined impact” claim. Reaves v. Sec’y, DOC, 872 F.3d at 1149. The Court set forth
that the District Court’s combined impact claim asserted that the combined errors of
trial counsel at the guilt and sentencing phases rendered the result of the sentencing
phase unfair. The Eleventh Circuit also found that: “When the case was before the
state supreme court on that later appeal after remand, Reaves did not re-assert the
penalty phase ineffectiveness claim or ask the court to reconsider its rejection of that
claim four years earlier.” Reaves v. Sec’y, Dep't of Corrs., 872 F.3d at 1154.

In any postconviction motion, whether in state court or federal court,
individual claims have to be considered in light of the entire pleading and indeed the
entire record. In Strickland v. Washington, 486 U.S. 688 (1984), the Supreme Court
made it clear that an ineffective assistance of counsel claim must be considered in the
context of “whether counsel’s assistance was reasonable considering all the
circumstances.” Strickland, 486 U.S. at 688 (emphasis added). The circumstances
surrounding counsel’s preparation for and presentation of guilt phase evidence are

always pertinent to the penalty phase, especially in cases like this one in which facts

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that are pertinent to a guilt phase defense are also supportive of mitigation.

Strickland is clear that the court “must determine whether in light of all the
circumstances, the identified acts or omissions by counsel were outside the wide
range of professionally competent assistance. In making that determination the court
should keep in mind that counsel’s function, as elaborated in prevailing professional
norms is to make the adversarial testing process work in the particular case.”
Strickland, 486 U.S. 690 (emphasis added),

In the instant case, the issues surrounding Mr. Reaves’ mental health
including PTSD, and his history of substance abuse and intoxication at the time of
the offense were and should be relevant to preparation for both the guilt/innocence
and penalty phases. In a case such as this it is impossible to separate the claims
surgically, rather as a surgeon would separate conjoined twins. Indeed trial counsel
has a duty to operate under a unified theory of the case from pretrial to penalty phase.

Applicable professional standards are set forth in the American Bar
Association (ABA) Standards of Criminal Justice, “standards to which we have long
referred as guides to determining what is reasonable.” Wiggins v. Smith, 539 U.S.
510, 524 (2003). Wiggins makes clear that the ABA Guidelines® supply the guide to
what is reasonable in investigating a capital case. Guideline 10.10.1 (2003), which
deals with overall trial preparation, makes it clear that counsel should formulate an

internally consistent theory of the case; that will minimize inconsistencies between

6 American Bar Association Guidelines for the Appointment and Performance
of Counsel in Death Penalty Cases (1989) (hereinafter “ABA Guidelines”).

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guilt and penalty phases. See ABA Guideline 10.10.1 (2003).7 Thus, a court cannot
logistically, nor should it, assess individual claims in a vacuum, devoid of the rest of
the circumstances of the case. The District Court correctly assessed the penalty phase
ineffectiveness claim in light of the guilt phase claims and correctly determined that
a new penalty phase was justified.

Here the claims relating to mental health and substance abuse and
intoxication were inextricably interrelated in this case. It is noteworthy that in 2002
the Florida Supreme Court’s remand for an evidentiary hearing on guilt phase
ineffectiveness, including trial counsel’s failure to raise the defense of voluntary
intoxication, also included the phrase “and related subclaims,” allowing for the
presentation of additional evidence. See Reaves v. State, 826 So. 2d 932, 944 (2002)
(emphasis added).

Those “related subclaims” included the claim that trial counsel “was ineffective
in not retaining experts who could testify properly as to the effects of substance abuse
combined with his mental defects.” Jd. at 939. This claim is self-evidently broader in
scope than voluntary intoxication and resulted in evidence being presented at the

evidentiary hearing on remand as to Reaves’ combat PTSD and substance abuse

? The Commentary to the Guideline emphasizes that credibility will be lost if
counsel takes inconsistent positions at different stages of the trial. It states that “it
is critical that well before trial, counsel formulate an integrated defense theory that
will be reinforced by its presentation at both the guilt and mitigation stages. Counsel
should then advance that theory during all phases of the trial including jury selection,
witness preparation, pretrial motions, opening statements, presentation of evidence
and closing argument.” Commentary to Guideline 10.10.1 (2003). This emphasizes
the need to consider the postconviction pleading as a whole rather than as individual
surgically separated claims.

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disorder.§

Counsel argued that these issues were material to the ineffective assistance of
counsel at the penalty phase claims at the onset of the state evidentiary hearing on
March 3, 2003. Tp. at 6-10. Counsel told the trial court that the scope of the hearing
was not limited to voluntary intoxication and “the Supreme Court opinion also
pointed out that the related [Axe] claim was also part of it.” Tp. at 6. The Ake v.
Oklahoma claim was claim 5 in the 1999 Rule 3.851 motion, found at PCR 496-501.9

The claim specifically incorporated “[a]ll other allegations and factual matters
contained elsewhere in this motion” and then alleged that “Mr. Reaves was denied
his rights under the federal Constitution to a professional, competent, and
appropriate mental health evaluation for use in the aid of his defense. Counsel failed
to obtain a professional, competent and appropriate mental health evaluation.” PCR.

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8 In its remand order, the Florida Supreme Court specifically recognized how
the penalty phase presentation was wrapped up with the involuntary intoxication
issue:

During the penalty phase, even more evidence was
presented which would have supported a voluntary
intoxication defense, including additional testimony that
Reaves was on drugs at the time of the crime. Moreover,
numerous witnesses testified that Reaves had a history of
serious drug abuse dating back to the Vietnam War, that
he became involved in “heavy drugs” towards the end of his
service in Vietnam, and that his prior convictions were
drug-related.

Td. at 937-39.
9 Ake v. Oklahoma, 470 U.S. 68 (1985).

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The Axe claim also specifically set forth that “undersigned counsel has
determined through the use of mental health experts who were available and would
have testified at the time of trial that Mr. Reaves suffers from Post Traumatic Stress
Disorder, brain damage and a severe addiction to drugs. The combination of PTSD
and severe drug use caused Mr. Reaves to suffer from what is commonly known as
dissociation (the inability of a person to have integration of action and thoughts)
wherein he believes he is back in war. Mr. Reaves would have been incoherent and
his ability to make proper judgements evaporated.” PCR at 499. (emphasis added).

Paragraph 8 of the Axe claim further pled that “Mr. Reaves did not receive a
fair penalty phase because he did not receive appropriate assistance by the mental
health expert. The court’s failure to ensure that he received appropriate assistance
and adequate resources resulted in a violation of Mr. Reaves’ due process rights and
right to a fair trial.” PCR. at 501 (emphasis added).

During that initial hearing after the remand the state trial court acknowledged
that “the only problem is the [Florida] Supreme Court doesn’t say anything about
that issue. [ve looked through the cases and it’s like they’ve raised that issue and
they didn’t decide on it.” PCR. at. 8. The trial court then opined that “Lilt’s like it was
left out dangling and no mention until the very end, and then they talk about related
to subclaims and they refer to this as a related sub issue. So, if you’re willing to go
along with that, then that’s what we'll do.” PCR. at. 9.

After the hearing concluded written closing memos were provided and the trial

court entered an order on March 10, 2004 denying relief. The order made reference

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to the substantial evidence, material to the related subclaim that was presented at
the evidentiary hearing, including the testimony of Dr. Weitz, Dr. Dudley, Dr. Mash,
Dr. Parsons, Dr. Crown and Dr. Hyde. Order at 7. The trial court then denied the
motion, “Because the Defendant has failed to establish that trial counsel was
ineffective for failing to raise a voluntary intoxication defense and failing to retain
experts who could testify properly as to the effects of substance abuse combined with
the Defendant’s mental defects, the motion is denied.” Order at 9.

Mr. Reaves’ March, 2004 circuit court motion for rehearing specifically noted
that the then recent case of Wiggins v. Smith, 123 S. Ct. at 2536-37, had addressed a
similar failure by trial counsel to investigate a capital defendant’s social history for
the purpose of developing potential mitigation but that the relevant applicable ABA
professional standards referenced therein were equally applicable to investigation at
both the guilt phase and sentencing phase. Mot. at 10-11.

The motion also argued that “presenting such evidence to the court in
postconviction is a critical part of the process of proving ineffective assistance, Ake
violations, and prejudice.” Motion at 11. The final paragraph of the rehearing motion
requested that “this court reconsider the denial of relief in light of the 100% military
service related disability due to PTSD assigned to Mr. Reaves on August 28, 2003 by
the United States Department of Veterans Affairs. A pleading dated December 9,
2003 memorialized this fact in the court file of the instant case.” Motion at 13. The
motion for rehearing concluded by asking “this Court to grant his request for

rehearing, providing relief consistent with this motion, including the vacation of his

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convictions and sentences, including his sentence of death.” Mot. at 13. The District
Court’s analysis of the “combined impact” in granting relief was proper and in
accordance with Strickland and its progeny.
The District Court also found that the Florida Supreme Court was

unreasonable in 2002 for finding that any further evidence would be cumulative:

In denying Mr. Reaves’ post-conviction relief, the state

court found, and the Florida Supreme Court agreed, that

“[alny of the proposed additional evidence [as to the

penalty phase] would have been either irrelevant or

cumulative.” Reaves, 826 So. 2d at 941.... [T]hat was an
unreasonable determination of the facts.

(Appendix F at *34). Nothing from the 2003 state court record was necessary to the
district court’s ruling. Considering the ways in which that record reaffirms the
correctness of the ruling does not change the fact that the ruling stands on its own.

The Florida Supreme Court could have ruled on the penalty phase in its 2006
opinion following the remand hearing because it did not deny all ineffectiveness
challenges to the penalty phase in 2002. When the Florida Supreme Court remanded
for an evidentiary hearing it also allowed hearing on “related subclaims.” Jd. at 944 .
The subclaims included the claim that trial counsel “was ineffective in not retaining
experts who could testify properly as to the effects of substance abuse combined with
his mental defects.” Jd. at 939 . This resulted in substantial evidence being presented
at the evidentiary hearing on remand as to Reaves’ combat PTSD and substance
abuse disorder.

In his initial brief to the Florida Supreme Court following the remand hearing

Mr. Reaves made multiple references to the ABA Guidelines as to both the guilt and

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penalty phase and their interplay with Wiggins and Strickland. 1.B. at 55-57, 69.
Counsel also specifically requested “a review of the entire record of the case” and a
new trial. [.B at 91. In the Reply Brief counsel specifically noted that trial counsel’s
failure to properly investigate and present the defense of voluntary intoxication was
comparable to the overall failures by trial counsel at guilt and penalty phase in
Rompilla v. Beard, 125 S. Ct. 2456, 2470-1 (2005), where there was a failure “to
conduct a prompt investigation of the case and to explore all avenues leading to facts
relevant to the merits of the case and the penalty in the event of conviction. Reply
Brief at 10.

Counsel also noted the lower court's failure to consider “all of the relevant and
material evidence [that] should have been heard at a full and fair evidentiary hearing
on the issues included in this Court’s remand” and further that “the decisions of the
lower court operated to frustrate a full review of the mixed question of fact and law
involved in a determination of whether there was ineffective assistance of counsel.”
Reply Brief at 22.1°

In his dissent to the denial of relief, Justice Anstead pointed to the Court's
2002 prior opinion that remanded for the 2003 evidentiary hearing. The section he
referenced noted the interconnection between the penalty phase presentation and the

guilt phase evidence:

10 Tn addition, during the pendency of the appeal, counsel moved on October
21, 2005 for relinquishment of jurisdiction for the specific purpose of obtaining
additional discovery from the state attorney concerning guilt phase and penalty
phase ineffective assistance of counsel.

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During the penalty phase, even more evidence was
presented which would have supported a voluntary
intoxication defense, including additional testimony
that Reaves was on drugs at the time of the crime.
Moreover, numerous witnesses testified that Reaves had a
history of serious drug abuse dating back to the Vietnam
War, that he became involved in “heavy drugs” towards the
end of his service in Vietnam, and that his prior convictions
were drug-related.

Reaves v. State, 942 So0.2d at 883.

Finally, Mr. Reaves’ Motion for Rehearing to the Florida Supreme Court
criticized the lack of any cumulative consideration, pointing out that “this Court’s
majority has nothing to say about the extensive expert testimony that was presented
below except that “although the mental health experts opined at the evidentiary
hearing that Reaves was intoxicated, they did not have any objective evidence to
support their conclusions.” Motion at 2.

The Eleventh Circuit's position that the Florida Supreme Court had no duty in
2006 to reconsider their penalty phase decision from 2002 is unreasonable. Had the
Eleventh Circuit relied on the entire state court record, as would have been proper
for a cumulative analysis consistent with Strickland, it would have found, as the
district court did, that Appellee received constitutionally ineffective assistance of
counsel at his penalty phase.

II. The Plain Language Of Strick/and Instructs Courts To Evaluate
Counsel’s Cumulative “Errors” In The Prejudice Analysis.

Strickland v. Washington, 466 U.S. 668 (1984), itself requires courts to
consider all of counsel’s errors in the prejudice analysis. Not only did the Court

consistently use the plural “errors” when discussing the prejudice prong of the

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ineffective counsel test, but it also emphasized the test’s overall-fairness nature.

To show ineffectiveness, the Court settled on a test that requires a convicted
defendant show both deficient attorney performance and prejudice. Id. at 692. As to
the deficiency prong, the convicted defendant must show that “counsel made errors
so serious that counsel was not functioning as the ‘counsel’ guaranteed the defendant
by the Sixth Amendment.” Jd. at 687 (emphasis added). In particular, “the
performance inquiry must be whether counsel’s assistance was reasonable
considering all the circumstances.” Jd (emphasis added). As to prejudice, the
defendant must show “that counsel's errors were so serious as to deprive the
defendant of a fair trial, a trial whose result is reliable.” Jd. at 687 (emphasis added).

Emphasizing the cumulative nature of the inquiry, the Court repeatedly
referred to the plural “errors” throughout its opinion. The convicted defendant “must
identify the acts or omissions of counsel that are alleged not to have been the result
of reasonable professional judgment.” /d. at 690 (emphasis added). The Court
continued: “It is not enough for the defendant to show that the errors had some
conceivable effect on the outcome of the proceeding.” Jd. at 693 (emphasis added).
“The result of a proceeding can be rendered unreliable, and hence the proceeding
itself unfair, even if the errors of counsel cannot be shown by a preponderance of the
evidence to have determined the outcome.” Jd. at 694 (emphasis added). Again, the
Court explained: “When a defendant challenges a conviction, the question is-whether
there is a reasonable probability that, absent the errors, the factfinder would have

had a reasonable doubt respecting guilt.” Jd. at 695 (emphasis added); see also id. at

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694 (“The defendant must show that there is a reasonable probability that, but for
counsel's unprofessional errors, the result of the proceeding would have been
different.” (emphasis added)); id (“In making the determination whether the
specified errors resulted in the required prejudice, a court should presume, absent
challenge to the judgment on grounds of evidentiary insufficiency, that the judge or
jury acted according to law.” (emphasis added)).

It makes sense that the Court would require a cumulative analysis of counsel’s
errors in the prejudice inquiry: historically, the ineffective-counsel inquiry arose from
the due process clause. See discussion infra Part IV. Strickland maintained the
overall-fairness nature of the inquiry in the Sixth Amendment ineffective-counsel
test. Indeed, Strick/and made clear that the ineffective-counsel inquiry centered on
the overall fairness of the trial! “The benchmark for judging any claim of
ineffectiveness must be whether counsel’s conduct so undermined the proper
functioning of the adversarial system that the trial cannot be relied on as having
produced a just result.” Strickland, 466 U.S. at 686.

III. The Court Considers The Cumulative Impact Of Counsel’s
Errors.

In addition to the plain language of Strickland, two subsequent Supreme Court
decisions— Willams v. Taylor, 529 U.S. 362 (2000), and Wiggins v. Smith, 539 U.S.
510 (2003)—confirm that the ineffective-counsel prejudice inquiry must include a
cumulative review of counsel’s errors.

In Williams, the Court emphasized the cumulative nature of the ineffective

counsel claim, concluding that the state court’s “prejudice determination was

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unreasonable insofar as it failed to evaluate the totality of mitigation evidence—both
that adduced at trial, and the evidence in the habeas proceeding . . ..” Jd. at 397-98.
It then conducted the appropriate ineffective-counsel inquiry. First, the Court noted
counsel’s multiple deficiencies in Williams’s capital penalty phase:

The record establishes that counsel did not begin to
prepare for that phase of the proceeding until a week before
the trial. They failed to conduct an investigation that would
have uncovered extensive records graphically describing
Williams' nightmarish childhood, not because of any
strategic calculation but because they incorrectly thought
that state law barred access to such records. Had they done
so, the Jury would have learned that Williams’ parents had
been imprisoned for the criminal neglect of Williams and
his siblings, that Williams had been severely and
repeatedly beaten by his father, that he had been
committed to the custody of the social services bureau for
two years during his parents’ incarceration (including one
stint in an abusive foster home), and then, after his parents
were released from prison, had been returned to his
parents' custody.

Counsel failed to introduce available evidence that
Williams was “borderline mentally retarded” and did not
advance beyond sixth grade in school. They failed to seek
prison records recording Williams' commendations for
helping to crack a prison drug ring and for returning a
guard's missing wallet, or the testimony of prison officials
who described Williams as among the inmates “least likely
to act in a violent, dangerous or provocative way.” Counsel
failed even to return the phone call of a certified public
accountant who had offered to testify that he had visited
Williams frequently when Williams was incarcerated as
part of a prison ministry program, that Williams “seemed
to thrive in a more regimented and _ structured
environment,’ and that Williams was proud of the
carpentry degree he earned while in prison.

Willams, 529 U.S. at 395-96 (internal citations and footnotes omitted). Then, the

Court turned to prejudice. The Court did not assess individually the prejudice of any

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single error.

Rather, it considered the prejudice of counsels’ errors cumulatively:
Wiliams turned himself in, alerting police to a crime they
otherwise would never have discovered, expressing
remorse for his actions, and cooperating with the police
after that. While this, coupled with the prison records and
guard testimony, may not have overcome a finding of
future dangerousness, the graphic description of Williams'
childhood, filed with abuse and privation, or the reality
that he was “borderline mentally retarded,” might well
have imfluenced the jury's appraisal of his moral
culpability. The circumstances recited in his several
confessions are consistent with the view that in each case

his violent behavior was a compulsive reaction rather than
the product of cold-blooded premeditation.

Id. at 398 Gnternal citations omitted). The Court continued: “[T]he entire
postconviction record, viewed as a whole and cumulative of mitigation evidence
presented originally, raise a reasonable probability that the result of the sentencing
proceeding would have been different 1f competent counsel had presented and
explained the significance of all the available evidence.” Jd. at 399 Gnternal quotation
marks omitted).

Two years after Willams, the Court once again emphasized the cumulative
prejudice inquiry in Wiggins v. Smith, 539 U.S. 510 (2008). The Court reiterated the
Strickland prejudice standard: “[Wle evaluate the totality of the evidence—both that
adduced at trial, and the evidence adduced in the habeas proceedings.” Wiggins, 539
U.S. at 586 (quoting Williams, 529 U.S at 397-98) (emphasis added). In Wiggins,
counsel failed to investigate and presented only a partial mitigation case. /d. at 534.
The Court concluded that a reasonable attorney would have investigated, discovered,

and introduced the following mitigation evidence: severe abuse by Wiggins’s alcoholic

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mother, physical and repeated rape while in foster care, homelessness, and
diminished mental capacities. Jd. at 535. To determine whether these errors
prejudiced the petitioner, the Court explained that “we reweigh the evidence in
aggravation against the totality of available mitigating evidence.” Jd at 534. This
new mitigation evidence combined with the fact that Wiggins had no prior
convictions, the single mitigation fact that counsel presented to the jury, produce “a
reasonable probability that at least one juror would have struck a different balance
lin weighing aggravation and mitigation].” Jd. at 537. The Court concluded “that the
available mitigating evidence, taken as a whole, might well have influenced the jury’s
appraisal of Wiggins’ moral culpability.” Jd. at 538 (emphasis added and internal
citations omitted).

IV.  Ineffective-Counsel And Co-Developing Materiality Law
Mandate A Cumulative Prejudice Analysis.

In addition to the plain language of Strickland and subsequent cases applying
a cumulative prejudice analysis, Ayles v. Whitley, 514 U.S. 419 (1995), necessitates
a cumulative prejudice analysis. Prejudice and materiality analyses both arose out of
due process and their resulting totality-of-the-circumstances inquiries developed
together. Indeed, Strickland said as much: “[T]he appropriate test for prejudice finds
its roots in the test for materiality of exculpatory information not disclosed to the
defense by the prosecution.” Strickland, 466 U.S. at 694 (citing United States v.
Agurs, 427 U.S. 97 (1976); Kyles, 514 U.S. at 486 (“Agurs thus opted for its
formulation of materiality, later adopted as the test for prejudice in Strickland’).

Ayles left no doubt that prejudice and materiality must include a cumulative

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analysis. Kyles, 514 U.S. at 4386 (a Bagley materiality analysis must consider
“suppressed evidence [] collectively, not item by item.”).

Before the Sixth Amendment’s incorporation, the Court viewed ineffective
counsel as a violation of due process. In Powell v. Alabama, 287 U.S. 45 (1982), an
Alabama capital case in which three black teenagers were sentenced to death for the
rape of two white girls, the trial court effectively denied counsel to the defendants by
appointing the entire bar, rather than a specific attorney, to their cases. In finding a
due process violation, the Court employed a cumulative analysis and considered the
prejudice of a//errors on the fairness of the trial:

In the light of...the ignorance and illiteracy of the
defendants, their youth, the circumstances of public
hostility, the imprisonment and the close surveillance of
the defendants by the military forces, the fact that their
friends and families were all in other states and
communication with them necessarily difficult, and above
all that they stood in deadly peril of their lives—we think
the failure of the trial court to give them reasonable time

and opportunity to secure counsel was a clear denial of due
process.

Powell, 287 U.S. at 71.

Simultaneously, the materiality analysis was developing, focusing on the Due
Process Clause’s overall-fairness requirement rather than the prejudice caused by
one particular act of the prosecution. The Court explained that the due process
requirement, “in safeguarding the liberty of the citizen against deprivation through
the action of the state, embodies the fundamental conceptions of justice which lie at
the base of our civil and political institutions.” Mooney v. Holohan, 294 U.S. 103, 112

(1935); see also Brady v. Maryland, 373 U.S. 83, 87 (1963) (“The principle of Mooney

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vy. Holohan is not punishment of society for misdeeds of a prosecutor but avoidance of
an unfair trial to the accused.”).

In 1963 the Court applied the Sixth Amendment’s right-to-counsel to the
states. Gideon v. Wainwright, 372 U.S. 335, 338-39 (1963). The Sixth Amendment
inquiry is no different than a due process analysis: “The Constitution guarantees a
fair trial through the Due Process Clauses, but it defines the basic elements of a fair
trial largely through the several provisions of the Sixth Amendment, including the
Counsel Clause .. ..” Strickland, 466 U.S. at 696; Gideon, 372 U.S. at 341 (“[T]hose
guarantees of the Bill of Rights which are fundamental safeguards of liberty immune
from federal abridgement are equally protected against state invasion by the Due
Process Clause of the Fourteenth Amendment.”}.

After courts shifted their focus to the Sixth Amendment, the materiality and
prejudice tests continued to evolve together, consistently referring to the other for
guidance. The Strick/and Court looked to the prosecutorial misconduct case of United
States v. Agurs, 427 U.S. 97 (1976), for the prejudice prong of the ineffective counsel
inquiry. 466 U.S. at 694 (citing Agurs, 427 U.S. at 104) (‘the appropriate test for
prejudice finds its roots in the test for materiality of exculpatory information not
disclosed to the defense by the prosecution”). Then, in United States v. Bagley, 473
U.S. 667, 682 (1985), the Court again acknowledged the intertwinement of the two
standards when it adopted “the Strickland formulation of the Agurs test for
materiality.” In formulating the materiality analysis, the Court incorporated the

Strickland prejudice analysis: “evidence is material only if there is a reasonable

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probability that, had the evidence been disclosed to defense, the result of the
proceeding would have been different.” Bagley, 473 U.S. at 682.

As explained above, the plain language of Strickland requires a cumulative
analysis. But if there was any doubt that the due process nature of the intertwined
prejudice and materiality tests required a cumulative analysis, those doubts were
laid to rest in Ayles v. Whitley, 514 U.S. 419 (1995). In Kyles, the Court was faced
with a lower court that failed to conduct a cumulative materiality analysis. The Kyles
Court emphasized that courts must assess Bagley materiality “in terms of suppressed
evidence considered collectively, not item by item.” 514 U.S. 419, 436 (1995) . The
Kyles Court reversed the lower court’s materiality analysis after concluding that
“[tlhe result reached ...is compatible with a series of independent materiality
evaluations, rather than the cumulative evaluation required by Bagley.” Id. at 441.
And, again, the Court recognized that Stricklands prejudice test was adopted from
Agur¢ materiality test. fd. at 436.

V. A Non-Cumulative Analysis Produces Arbitrary Results Contrary
To The Eighth Amendment.

The government acts contrary to the Eighth Amendment when it “inflicts upon
some people a severe punishment that it does not inflict upon others.” Furman v-.
Georgia, 408 U.S. 238, 274 (1972). Under a non-cumulative analysis, each court can
determine how it groups attorney errors. For instance, for purposes of the prejudice
analysis, courts could consider the failure to call a medical expert (1) as an individual
error; (2) as a group with other expert-related errors, or (3) as a group with other

mitigation errors. All three groupings could result in different prejudice analyses, yet

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the underlying attorney conduct remains the same. Thus, without reason, some
similarly-situated clients will receive relief, others will not.

This scenario plays out in courts that employ a non-cumulative analysis. In
Banks v. Cockrell, 48 F. App’x 104 (th Cir. 2002) (reversed on different grounds), the
petitioner identified the following counsel errors: (1) failure to obtain a social history;
(2) failure to prepare witnesses, including Banks’ parents: (3) failure to retain and
present expert psychological testimony explaining family background and future
dangerousness, and (4) failure to interview a state penalty-phase witness. /d. The
Fifth Circuit grouped those errors as it saw fit: (1) failure to obtain a social history
and to investigate mitigating psychological evidence (combining errors one and
three); (2) failure to prepare penalty phase witnesses, including Banks’ parents: and
(3) failure to interview a state penalty-phase witness. Jd. at *17-19. After its own
regrouping, the court considered each group individually, not cumulatively, in its
prejudice analysis. /d. at *20.

Another court could have felt compelled to group these errors in different ways.
For instance, a court logically could have grouped all witness errors together,
grouping two, failure to prepare a witness, with four, failure to prepare a state
penalty-phase witness. See John H. Blume & Christopher Seeds, Reliability Matters:
heassociating Bagley Materiality, Strickland Prejudice, and Cumulative Harmless
Error, 95 J, Crim. L. & Criminology 1153, 1171 (2005). Relying on the same reasoning
the Fifth Circuit gave for its grouping of one and three, a court could determine that

all errors should be grouped together because the failure to investigate social history

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is relevant to all three of the other errors. /d. Arbitrariness results. Two defendants
that have committed the same crime may receive different results — one life and one
death — solely because of a judge’s grouping preferences.

VI. Conflict With Other Circuits

The Strickland Court instructed, and subsequent cases confirmed, that courts
must cumulate counsel’s deficient performances in the prejudice analysis. In addition
to Strickland'’s plain language, the due process roots of ineffective-counsel claims and
the otherwise arbitrary results mandate the use of a cumulative prejudice analysis.

The opinion of the Eleventh Circuit in Mr. Reaves’ case ignored this
fundamental principle when it asserted that the District Court had granted relief on
a claim that Appellant did not make, a claim it dubbed the “combined impact” claim.
The opinion conflicts with its own case law and the view of other circuits. The
necessity for this cumulative analysis trumps the 11th Cireuit’s mode of analysis
requiring claim-specific issue raising.

In United States. v. Gray, 878 F.2d 702 (8rd Cir. 1989), the Third Circuit
overturned a denial of § 2255 relief following an evidentiary hearing. The Circuit
Court below found that although there was deficient performance by trial counsel
there was no prejudice. In Gray the court of appeals reversed because the case was
one “where the deficiencies in counsel’s performance are severe and cannot be
characterized as the product of strategic judgment.” /d. at 711. This is affirmatively
what the Circuit Court found in Mr. Reaves’ case.

In granting Gray’s motion and granting him a new trial, the Third Circuit

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made a determination that ineffective assistance of counsel under Strickland
required a searching inquiry of the entire record, looking at the record as a whole.
Specifically, the Third Circuit noted, citing to Strickland, that “[t]he effect of counsel’s
inadequate performance must be evaluated in light of the totality of the evidence at
trial: “a verdict or conclusion only weakly supported by the record is more likely to
have been affected by errors than one with overwhelming record support. Strick/and,
466 U.S. at 696.” Gray, 878 F.2d at 711 (emphasis added).

The Sixth Circuit also made the mistake of failing to properly review the entire
record in a Brady case, a decision that this Court reversed in Cone v. Bell 566 U.S.
449, 452 (2009) (“After a complete review of the trial and postconviction proceedings,
we conclude that the Tennessee courts’ rejection of petitioner’s Brady claim does not
rest on a ground that bars federal review. Furthermore, although the District Court
and the Court of Appeals passed briefly on the merits of Cone’s claim, neither court
distinguished the materiality of the suppressed evidence with respect to Cone’s guilt
from the materiality of the evidence with respect to his punishment.”)1!

This Court took exception to the failure by the Court of Appeals to collectively
assess all the evidence in support of Cone’s claim. /d. at 474, 476. (“. . . [Nlo Tennessee
court has reached the merits of his claim that state prosecutors withheld evidence
that would have bolstered his defense and rebutted the State’s attempts to cast doubt
on his alleged drug addiction. Today we hold that the Tennessee courts’ procedural

rejection of Cone’s Brady claim does not bar federal habeas review of the merits of

11 See Cone v. Bell, 492 F.3d 748 (6th Cir. 2007).

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that claim. Although we conclude that the suppressed evidence was not material to
Cone’s conviction for first-degree murder, the lower courts erred in failing to assess
the cumulative effect of the suppressed evidence with respect to Cone’s capital
sentence.”) (emphasis added).

Just as the decision of the Eleventh Circuit is inconsistent with other circuits
it 1s also at odds with its own cases.¥2 In Blanco vy. Singletary the Eleventh Circuit
reversed the district court’s denial of penalty phase relief, finding that trial counsel's
investigation and preparation for the penalty phase was woefully deficient, non-
strategic and objectively unreasonable:

In this case, the attorneys failed to conduct a reasonable
investigation, and this failure was not a result of a tactical
choice.

Counsel simply failed to investigate Blanco's mental health
status. After the guilty verdict was rendered, one of the
reasons counsel requested a continuance was because “I
need to prepare ... the psychiatric testimony of a Court—
appointed psychiatrist.” No psychiatrist had been procured
prior to this point, and no examination of Blanco was ever
conducted. At conference the day before the penalty phase
began, counsel informed the court after a brief discussion
with Blanco that no mental health mitigation evidence
existed. Given that this discussion constituted the extent
of counsels' investigation into the availability of mental
health mitigating evidence, that such evidence was
available, that absolutely none was presented to the
sentencing body, and that no strategic reason has been put

12 See Hardwick v. Sec’y, Dep’t of Corrs, 803 F.3d 541 (11th Cir. 2015):
Hardwick v. Crosby, 320 F3d 1127 (11th Cir. 2003); Cave v. Singletary, 971 F.2d 1513,
1519-20 (11th Cir. 1992); Blanco v. Singletary, 943 F.2d 1477 (11th Cir. 1990.

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forward for this failure, we find that counsels' actions were
objectively unreasonable.

Blanco v. Singletary, 943 F.2d 1477, 1500-03 (11th Cir. 1991). In Cave v. Singletary,
a pre-AEDPA case, the Eleventh Circuit upheld the district court as to the denial of
relief at the guilt phase and the grant of relief at the penalty phase:

Competent counsel would have prepared for sentencing

and would have produced witnesses that the district court

found were ready and willing to testify for Cave. Even

without this evidence the sentencing jury came within one

vote of recommending life imprisonment. Petitioner has

demonstrated prejudice such that our confidence in the

sentence of death is greatly undermined. We therefore

affirm the district court's order denying relief on the

conviction and granting the writ of habeas corpus as it
relates to sentencing.

Cave v. Singletary, 971 F.2d 1518, 1519-20 (11th Cir. 1992).

The district court granted penalty phase relief in Mr. Reaves case. In the order
granting relief, the district court noted that “in Cooper v. Secretary, 646 F.3d 1328,
1353 (11th Cir. 2011), the Eleventh Circuit had found that ‘the Florida Supreme
Court's finding that the mitigation evidence presented at the evidentiary hearing was
cumulative to that presented at sentencing was an unreasonable determination of
the facts.” The district court then found that in Mr. Reaves’ case “[tlhe state court’s
“cumulative” finding is particularly implausible where the only testimony at
sentencing remotely similar to the available medical testimony, testimony about the
ill-conceived “Vietnam Syndrome,” was attacked by the prosecutor as illegitimate and
not recognized by the medical community. I find that the state court’s decision on
penalty phase prejudice was based on an unreasonable determination of the facts in

light of the evidence presented in the state court proceedings pursuant to 28 U.S.C.

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§ 2254(d)(2).” Reaves v. Jones, 2015 WL 13657202, at *36 (S.D.Fla., 2015) (emphasis

added).

CONCLUSION

Petitioner, William Reaves, requests that certiorari review be eranted.

Respectfully submitted,

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